                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

 BLAKE BEELER, et al.,                                 )
                                                       )
        Plaintiffs,                                    )
                                                       )
 v.                                                    )       No. 3:21-cv-152
                                                       )       Judge Katherine A. Crytzer
 JONATHAN SKRMETTI, et al.,                            )       Magistrate Judge Debra C. Poplin
                                                       )
        Defendants.                                    )


         JOINT STIPULATION FOR THE DISMISSAL OF PLAINTIFFS’ CLAIMS
                   AGAINST DEFENDANT JONATHAN SKRMETTI


        All Plaintiffs and all Defendants, by and through their respective counsel, respectfully
 submit this joint stipulation in accordance with F.R.C.P. 41(a)(1)(A)(ii) to voluntarily dismiss from
 the First Amended Complaint Plaintiffs’ claims against Defendant Jonathan Skrmetti, with the
 matter to proceed based on Plaintiffs’ claims against Defendant Jeff Long.



                                                       Respectfully Submitted,


                                                       /s/ Raymond M. DiGuiseppe
                                                       Raymond M. DiGuiseppe
                                                       The DiGuiseppe Law Firm, P.C.
                                                       4320 Southport-Supply Road
                                                       Suite 300
                                                       Southport, NC 28461
                                                       Phone: 910-713-8804
                                                       Fax: 910-672-7705
                                                       Email: law.rmd@gmail.com
                                                       Counsel for Plaintiffs

                                                       HERBERT H. SLATERY III
                                                       Attorney General and Reporter

                                                       s/ Dean S. Atyia
                                                       Dean S. Atyia (B.P.R. No. 039683)
                                                       Team Leader



Case 3:21-cv-00152-KAC-DCP Document 36 Filed 11/14/22 Page 1 of 2 PageID #: 253
                                                      Assistant Attorney General
                                                      Dean.Atyia@ag.tn.gov
                                                      Assistant Attorney General
                                                      Miranda.Jones@ag.tn.gov
                                                      Law Enforcement and
                                                      Special Prosecutions Division
                                                      Office of the Tennessee Attorney General
                                                      P.O. Box 20207
                                                      Nashville, Tennessee 37202-0207
                                                      Phone: (615) 532-0417
                                                      Fax: (615) 532-4892
                                                      Counsel for Defendants


                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing was filed electronically and
 served through the electronic filing system on this 14th day of November 2022, upon the following,
 as counsel for Defendants, with consent affix their electronic signatures to the same:

 Dean S. Atyia                                        Miranda H. Jones
 Team Leader                                          Assistant Attorney General
 Assistant Attorney General                           Law Enforcement and
 Law Enforcement and                                  Special Prosecutions Division
 Special Prosecutions Division                        Office of the Tennessee Attorney General
 Office of the Tennessee Attorney General             P.O. Box 20207
 P.O. Box 20207                                       Nashville, Tennessee 37202-0207
 Nashville, Tennessee 37202-0207

                                                      /s/ Raymond M. DiGuiseppe
                                                      Raymond M. DiGuiseppe




                                     2
Case 3:21-cv-00152-KAC-DCP Document 36 Filed 11/14/22 Page 2 of 2 PageID #: 254
